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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:11-CR-00204-AWI-2

12                                Plaintiff,            AMENDED ORDER GRANTING DEFENDANT‟S
                                                        MOTION PURSUANT TO TITLE 18 U.S.C.
13                          v.                          § 3582(c)(2)

14   JOSEPH PAUL NICHOLS,                               (Doc. 63)

15                               Defendant.

16

17          The defendant has filed a motion under 18 U.S.C. § 3582(c)(2), seeking a reduction in his

18 sentence on the basis of Amendment 782 to the Sentencing Guidelines which revises the Drug Quantity

19 Table in USSG § 2D1.1 and reduces by two levels the offense level applicable to many drug trafficking

20 offenses. The Government does not oppose the motion. For the following reasons, the Court will grant

21 the motion.

22          “Section 3582(c)(2) authorizes district courts to modify an imposed „in the case of a defendant

23 who has been sentenced to a term of imprisonment based on a sentencing range that has subsequently

24 been lowered by the Sentencing Commission.‟” United States v. Dunn, 728 F.3d 1151, 1155 (9th Cir.

25 2013) (quoting 18 U.S.C. § 3582(c)(2)). A reduction pursuant to Section 3582(c) is a two-step inquiry.

26 Dunn, 728 F.3d at 1155 (citing Dillon v. United States, 560 U.S. 817, 825-826 (2010)). First, the court
27 must determine whether the defendant is eligible for a modified sentence pursuant to USSG § 1B1.10.

28 Dunn, 728 F.3d at 155. If the first question is answered in the affirmative, the court must consider the

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 1 applicable § 3553(a) factors to determine whether a reduction is warranted under the circumstances of
 2 the case. Dunn, 728 F.3d at 1155.

 3          As to the first step, effective November 1, 2014, the Commission promulgated Amendment 782,

 4 which generally revised the Drug Quantity Table and chemical quantity tables across drug and chemical

 5 types. The Commission also voted to make Amendment 782 retroactively applicable to previously

 6 sentenced defendants. See USSG § 1B1.10(d); 79 Fed. Reg. 44,973. In determining whether to grant a

 7 reduction pursuant to Section 3582(c)(2) the court substitutes only the amendments authorized for

 8 retroactive application and leaves all other guidelines unaffected. USSG § 1B1.10(b)(1). Any reduction

 9 granted must become effective no sooner than November 1, 2015. See USSG § 1B1.10(e).

10          On June 6, 2012, Defendant entered into a plea agreement with the government wherein he

11 agreed to plead guilty to conspiracy to distribute methamphetamine, in violation of 21 U.S.C. §§ 846,

12 841(a)(1) and (b)(1)(A). Doc. 42. Defendant acknowledged that the drug quantity attributable to

13 defendant was approximately 220 grams of a substance containing methamphetamine or 199.4 grams of

14 actual methamphetamine. Using the Drug Quantity Table at USSG § 2D1.1(c)(3) (2011), the Court

15 determined that the defendant‟s base offense level for a quantity of actual methamphetamine between

16 150 and 500 grams was 34. The Court then applied a three-level reduction for acceptance of

17 responsibility pursuant to USSG § 3E1.1(a) and (b) and a two-level safety valve reduction pursuant to

18 USSG § 5C1.2, resulting in a total offense level of 29. The defendant‟s criminal history category was I.

19 The resulting Guideline Range was 87 to 108 months. On September 17, 2012, the Court imposed a low-

20 end term of imprisonment of 87 months. Doc. 49 at 2.

21          The sentencing range applicable to the defendant has subsequently been lowered by the United

22 States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014, see 79 Fed. Reg.

23 44,973, with an effective date of any such reduction as of November 1, 2015. The defendant‟s base

24 offense level has been lowered from 34 to 32. See USSG § 2D1.1(c)(4). Leaving all other guidelines

25 unaffected, i.e. applying a three-level reduction for acceptance of responsibility and a two-level safety

26 valve reduction, the defendant‟s total offense level is lowered from 29 to 27. See USSG § 1B1.10(b)(1).
27 The amended guideline range is 70 to 87 months. Accordingly, the first step of the Section 3582(c)(2)

28 inquiry is met; the defendant is eligible for a modified sentence.

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 1           As to the second step, this Court has considered the Section 3553(a) factors and, for the same

 2 reasons that it ordered a sentence at the low end of the Guideline Range at the defendant‟s sentencing on

 3 August 27, 2012, the Court finds that the Section 3553(a) factors support a sentence at the low end of

 4 the amended guideline range. Accordingly, the defendant‟s motion for reduction of sentence will be

 5 granted.

 6           IT IS HEREBY ORDERED that the term of imprisonment imposed on September 17, 2012,

 7 reflected in the judgment dated September 19, 2012, is reduced to a term of 70 months, effective as of

 8 November 1, 2015. If this sentence is less than the amount of time the defendant has already served as

 9 of November 1, 2015, the sentence is reduced to a time served sentence.

10           IT IS FURTHER ORDERED that all other terms and provisions of the original judgment remain

11 in effect. The clerk shall forthwith prepare an amended judgment reflecting the above reduction in

12 sentence, an effective date of the amended judgment as November 1, 2015, and shall serve certified

13 copies of the amended judgment on the United States Bureau of Prisons and the United States Probation

14 Office.

15           Unless otherwise ordered, the defendant shall report to the United States Probation Office within

16 seventy-two hours after his release.

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     IT IS SO ORDERED.
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     Dated: May 8, 2015
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                                                 SENIOR DISTRICT JUDGE
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